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CGFD71 (12/1/15)
                                     UNITED STATES BANKRUPTCY COURT
                                            Southern District of Florida
                                                          www.flsb.uscourts.gov

In re: Vital Pharmaceuticals, Inc. et al v. Owoc et al              Adversary Case Number: 23−01051−PDR
                                                                    (Related Bankruptcy Case Number: 22−17842−PDR )
                                                                    County of Residence or Place of Business: Fort Lauderdale
                                                                    U.S. District Court Case Number:


                                       TRANSMITTAL TO DISTRICT COURT
             Appeal pursuant to 28 U.S.C. § 158, Notice of Appeal and Statement of Election filed on
             Motion for Leave to Appeal (copy of appeal attached)
             Request to Expedite Appeal attached.
             Motion to Withdraw Reference pursuant to Local Rule 5011−1(C):

                               Contested            Uncontested
             Withdrawal of Reference granted by U.S. District Court
             Report and Recommendation (Motion to Withdraw Reference)


                               The Party or Parties Included in the Record to District Court:

         Appellant/Movant: John H. Owoc and Megan Attorney: Patrick R Dorsey               Attorney:
         Owoc
                                                  2385 NW Executive Ctr Dr # 300
                                                  Boca Raton, FL 33431

         Appellee/Respondent: Bang Energy Canada, Attorney: Jordi Guso, Esq.               Attorney:
         Inc., JHO Intellectual Property Holdings, LLC,
         JHO Real Estate Investment, LLC, Quash
         Seltzer, LLC, Rainbow Unicorn Bev LLC, Vital
         Pharmaceuticals International Sales, Inc., Vital
         Pharmaceuticals, Inc.
                                                          1450 Brickell Ave #1900
                                                          Miami, FL 33131


         Title and Date of Order Appealed, if applicable:

         Entered on Docket Date:                                    Docket Number:



             Designation in Appeal (See Attached)
             Designation in Cross Appeal (See Attached)
             Copy of Docket
             Exhibits:
             Copies of Transcript(s) of Hearing(s) on: Locked Transcripts 3/23/23, 3/28/23, 4/12/23, 4/25/23, 5/1/23, 5/11/23

             Respondent's Answer and/or Movant's Reply
             Other:



Dated:6/12/23                                                       CLERK OF COURT
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                          By: Tanesha Graster−Thomas
                          Deputy Clerk (954) 769−5700
